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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


 IN RE PORK ANTITRUST                              Court File No. 18-cv-1776 (JRT/JFD)
 LITIGATION
                                                   JBS USA FOOD COMPANY’S
 THIS DOCUMENT RELATES TO:                           MOTION TO ENFORCE
 Sysco Corp. v. Agri Stats, Inc., et al.,          SETTLEMENT AGREEMENT
 Case No. 21-cv-1374 (D. Minn.)


       Defendant JBS USA Food Company (“JBS”) respectfully moves the Court for an

Order enforcing the parties’ settlement agreement. This motion is supported by all files,

records, and proceedings herein, including (1) the memoranda of law, declarations, and

exhibits filed by JBS, and (2) the oral arguments of counsel.

 Dated: June 7, 2024

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